          Case
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                                                                   The Honorable Robert S. Lasnik

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                            UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON

                                        AT SEATTLE

      Northwest Center for Alternatives  )        No. 07-cv-1791-RSL
   to Pesticides, et al.,             )

                                         )
             Plaintiffs,                 )
                                       )
        v.                               )
                                       )
    National Marine Fisheries Service, )
                                         )
           Defendant.                  )
                                         )
 

                                              ORDER

          Pursuant to the Defendant’s Unopposed Third Motion to Amend the Court’s May 21,

      2014 Stipulation and Order to Amend the Stipulated Settlement Agreement Affirmed by this

      Court on August 1, 2008 (Dkt. 50), and pursuant to paragraph 5 of the parties’ 2008 Stipulated

      Settlement Agreement (Dkt. 21), and for good cause shown, it is HEREBY ORDERED that
 

    paragraph 4 of the Court’s May 21, 2014 Stipulation and Order to Amend the Stipulated

    Settlement Agreement Affirmed by this Court on August 1, 2008 (Dkt. 50) is amended to read:
 

                                                     
      Order on Defendant’s Third Motion to
      Amend Docket Number 50                                             CASE NO. 07-cv-1791-RSL
          Case
           Case2:07-cv-01791-RSL
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           “4.    NMFS agrees to finalize and publish a biological opinion concerning the effects
 
      of 1, 3-D and racemic metolachlor by June 30, 2021.”
 
                                      16th day
             IT IS SO ORDERED on this _____  y of October 2020.
 

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                               _________________________________
                                     Honorable Robert S. Lasnik
  
                                     United States District Court
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      Order on Defendant’s Third Motion to
      Amend Docket Number 50                                           CASE NO. 07-cv-1791-RSL
